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                       Nos. 24-50721 & 25-50096

       In the United States Court of Appeals
               for the Fifth Circuit
Computer & Communications Industry Association;
              NetChoice, L.L.C.,
                                     Plaintiffs-Appellees,
                                     v.
     Ken Paxton, Attorney General, State of Texas,
                                          Defendant-Appellant.
                     consolidated with

 Students Engaged in Advancing Texas; M.F., by and
through next friend, Vanessa Fernandez; Ampersand
          Group, L.L.C.; Brandon Closson,
                                        Plaintiffs-Appellees,
                                     v.
     Ken Paxton, Attorney General, State of Texas,
                                          Defendant-Appellant.

            On Appeals from the United States District Court
            for the Western District of Texas, Austin Division
                   Case Nos. 1:24-cv-849 & 1:24-cv-945

                    BRIEF FOR APPELLANT


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             Certificate of Interested Persons
                       No. 24-50721
     Computer & Communications Industry Association;
                   NetChoice, L.L.C.,
                                          Plaintiffs-Appellees,
                                           v.
          Ken Paxton, Attorney General, State of Texas,
                                               Defendant-Appellant.
                              and

                        No. 25-50096
    Students Engaged in Advancing Texas; M.F., by and
   through next friend, Vanessa Fernandez; Ampersand
            Group, L.L.C.; Brandon Closson,
                                           Plaintiffs-Appellees,
                                           v.
          Ken Paxton, Attorney General, State of Texas,
                                               Defendant-Appellant.


    Under Fifth Circuit Rule 28.2.1, appellant, as a governmental party, need not
provide a certificate of interested persons.

                                         /s/ Cameron Fraser
                                         Cameron Fraser
                                         Counsel of Record for Defendant-Appellant




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          Statement Regarding Oral Argument
    Texas requests oral argument. The district court’s facial injunctions flouted the
Supreme Court’s requirements in Moody v. NetChoice, LLC, 603 U.S. 707, 723
(2024), and raise complex issues of standing, the First Amendment, preemption, and
severability. Oral argument will clarify HB18’s text, context, and scope, as well as
Texas’s duty to shield minors from harmful content.




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                               Introduction
    Texas House Bill 18 (HB18) protects children from the most harmful online
content by requiring Digital Service Providers (DSPs) to monitor and filter from
their view the worst the internet has to offer—content that promotes, glorifies, or
facilitates things like suicide, human trafficking, child pornography, sexual abuse,
and suicide. It also prohibits predatory advertisements targeting minors with illegal
products, services, and activities, and requires DSPs to verify user ages on platforms

laden with obscenity. These consolidated appeals challenge a district court’s orders
facially enjoining HB18’s core provisions. The orders are flawed on multiple grounds
and should be reversed.
    First, the Students Engaged in Advancing Texas (SEAT) plaintiffs—SEAT itself
(an advocacy group), M.F. (a minor who uses social media), Brandon Closson (an
adult mental-health advocate), and Ampersand Group (an advertising agency)—lack
Article III standing to facially challenge HB18. Their online activities, including
educational posts, research, and public-health advocacy, are not within HB18’s
scope. M.F.’s debate research, SEAT’s anti-bullying posts, Closson’s mental-health
advocacy, and Ampersand’s anti-trafficking campaigns do not promote or facilitate
HB18’s narrow, enumerated harms, and thus the SEAT plaintiffs do not engage in
conduct that HB18 prohibits. They face no threat of enforcement, because HB18

regulates DSPs—not users or advertisers. And their speculative right-to-listen
claims lack the specific speaker-listener connection needed for such claims under
Murthy v. Missouri, 603 U.S. 43 (2024). Because the SEAT plaintiffs lack standing,
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the Court should at minimum reverse the injunctions of the provisions challenged
only in that suit: the targeted-advertising provisions and the obscenity provision.
    On the merits, the district court erred first by deeming HB18’s threshold
coverage definitions—the provisions defining which DSPs the law regulates—
themselves content-based, thus triggering strict scrutiny for the entire statute. That

holding was plainly wrong, as the definitions distinguish between platforms based on
their mediums, not speech content, and thus are permissible under Turner
Broadcasting System, Inc. v. FCC, 512 U.S. 622 (1994) (Turner I), and NetChoice, LLC
v. Paxton, 49 F.4th 439 (5th Cir. 2022) (NetChoice I).
    The district court compounded this error when, addressing the substantive
provisions of HB18, it effectively ignored the Supreme Court’s mandate in Moody v.
NetChoice, LLC, 603 U.S. 707, 724 (2024)—reaffirmed by this Court just 10 days
ago—to rigorously map a statute’s constitutional and unconstitutional applications,
and facially enjoin provisions only if their unconstitutional applications

“substantially outweigh” their constitutional applications. The district court did the
opposite: it failed to consider HB18’s countless constitutional applications—like
filtering child pornography, blocking advertisements for illegal content, and

requiring age verification for obscenity platforms, for example—and instead
speculated about hypothetical edge cases (like policy debates about physician-
assisted suicide and drug deregulation) without weighing them against valid

applications.
    The district court’s vagueness holdings fare no better. Terms like “promote”
and “glorify” are clear under Texas law and industry practice, and used in the

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content-moderation policies of many DSPs. The targeted-advertising provisions and
obscenity provision are similarly precise, targeting only unlawful or obscene content,
neither of which is vague even in the more exacting criminal context.
    Finally, HB18 is not preempted by 47 U.S.C. §230, as it imposes compliance
duties, not publisher liability, and aligns with §230’s child-protection goals, as

confirmed by Free Speech Coalition, Inc. v. Paxton, 95 F.4th 263 (5th Cir. 2024), cert.
granted, 144 S. Ct. 2714 (2024).
    The balance of equities and public-interest factors favor Texas, whose interests
in protecting children far outweigh plaintiffs’ speculative, premature speech harms.
    This Court should reverse the facial injunctions—or at minimum vacate and
remand for a proper Moody analysis—to uphold Texas’s compelling interest in
protecting children from insidious online harms. And even if the Court determines
that any provision of HB18 is facially unconstitutional, it should sever that provision
and preserve the remainder of the statute, thus maintaining Texas’s vital interest in

child safety.

                    Statement of Jurisdiction
    This Court has jurisdiction under 28 U.S.C. §1292(a)(1).

                            Issues Presented
    1.   Whether the SEAT plaintiffs lack Article III standing to challenge HB18,
         given that their online educational, research, and advocacy activities fall
         outside the statute’s scope, they face no credible threat of enforcement,
         their injuries are not traceable to HB18 enforcement or redressable by an



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         injunction, and they have identified no regulated third-party speech
         whatsoever.
     2. Whether the district court erred by facially enjoining HB18’s provisions
         under the First Amendment by categorically applying strict scrutiny to the
         entire statute and then failing to conduct the rigorous analysis required by

         Moody.
     3. Whether the district court wrongly held HB18’s monitoring-and-filtering
         and targeted-advertising provisions unconstitutionally vague, despite their
         clear meanings under Texas law and industry practice.
     4. Whether HB18 is preempted by 47 U.S.C. §230, given its alignment with
         §230’s immunity for good-faith content moderation and its focus on DSP
         compliance rather than liability for third-party speech.
     5. Whether any facially unconstitutional provisions of HB18 should be
         severed, preserving its many constitutional applications.

     6. Whether the balance of equities and public-interest factors favor Texas
         because HB18’s mission to protect minors from harmful content outweighs
         the plaintiffs’ speculative harms.

                         Statement of the Case

I.     Factual Background
     In May 2023, the Texas Legislature enacted HB18, the “Securing Children
Online through Parental Empowerment” Act, to protect minors from online harms.




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Tex. Bus. & Com. Code §§509.001-509.901. 1 Citing pervasive social-media use
among minors—95% of children between 13 and 17 use social media, and over a third

use it “almost constantly”—and risks like sexual exploitation, substance abuse, and
mental-health crises, the Texas Legislature invoked its compelling interest in
protecting minors’ well-being. ROA.24-50721.285, 287.
    HB18 regulates DSPs that enable social interaction through user-generated
content. It defines DSPs as websites, applications, or software that collect personal
identifying information (PII), allow users to create public or semi-public profiles, and

permit posting content viewable by others—e.g., on message boards and user
profiles. §§509.001(1)-(2), 509.002(a). HB18 exempts from regulation platforms on
which social speech is “incidental”—like government websites, financial
institutions, medical platforms, small businesses, higher education, employee or
educational software, email services with incidental social features, and DSPs
primarily providing news, sports, commerce, or provider-generated content.
§509.002(b).
    HB18 imposes several categories of targeted requirements:
    Monitoring and Filtering: DSPs must implement strategies to prevent known
minors’ exposure to content that “promotes, glorifies, or facilitates” narrow,
enumerated categories: suicide, self-harm, eating disorders, substance abuse,
stalking, bullying, harassment, grooming, trafficking, child pornography, and other
sexual exploitation or abuse. §509.053(a). Acceptable strategies include filtering and

    1
    All further citations to HB18 in this brief will use only section symbols—e.g.,
“§506.053.”

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hash-sharing technologies, keyword databases preventing evasion tactics, human
reviews, and algorithm transparency (trade secrets are exempted). §§509.053(b),
509.058.
    Targeted Advertising: DSPs may not display targeted advertising to known
minors, §509.052(2)(D), and they must make commercially reasonable efforts to

prevent advertisers from targeting minors with ads for products, services, and
activities that are illegal for minors in Texas, §509.055.
    Age Verification: DSPs publishing at least one-third material that is obscene
under Texas Penal Code §43.21 or “harmful” under Texas Penal Code §43.24
(meaning obscene for minors) must use commercially reasonable methods to verify
that its users are adults. §509.057.
    Age Registration and Parental Tools: DSPs must require users to register their age
before creating an account and provide known minors’ parents with tools to control
the known minors’ privacy, time limits, and data settings. §§509.051, 509.054,

509.101-102. Parents can override certain restrictions, like prohibitions on minors
engaging in financial transactions. §509.102.
    Data Limits and Algorithm Disclosure: DSPs must limit PII collection from

minors, not share or sell it, and not collect minors’ precise geolocation data.
§509.052(1)-(2). DSPs using algorithms for content suggestions must disclose their
means of doing so and ensure compliance with filtering duties. §509.056.

    Enforcement of HB18 is restricted to Texas Attorney General actions for
deceptive trade practices or parental suits for injunctive relief. §§509.151-.152. Class
actions are prohibited. Id.

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      HB18’s severability clause encourages courts to preserve “provisions or
applications of” of HB18 “that can be given effect without” any portion that is
deemed invalid. Act of May 28, 2023, 88th Leg., R.S., ch. 795, §5.01, 2023 Tex. Gen.
Laws 2516, 2524 (hereinafter, “§5.01”).
      HB18 took effect on September 1, 2024. As discussed below, however, the

district court facially enjoined its key provisions before that date. ROA.24-
50721.430-31; ROA.25-50096.846-52.

II.     Procedural History
      Following the passage of HB18 but before its effective date, two groups of
plaintiffs brought facial, pre-enforcement challenges against HB18 in the Western
District of Texas and sought preliminary injunctions blocking its enforcement. The
CCIA plaintiffs requested an injunction before HB18’s effective date; the SEAT
plaintiffs did not request an injunction by a specific date. Both cases were assigned

to the same district judge.

        A.    CCIA v. Paxton
      On July 30, 2024, the CCIA plaintiffs—nonprofits representing tech firms like

Google, Meta, and X—sued Attorney General Ken Paxton in his official capacity.
ROA.24-50721.7, 394-95. They alleged that HB18 violates the First Amendment as
a content-based law that fails strict scrutiny, is unconstitutionally vague, imposes
prior restraints, and is preempted by Section 230 of the Communications Decency
Act. ROA.24-50721.7-75. They sought to enjoin HB18’s monitoring-and-filtering
provisions (§§509.053, 509.056(1)) and DSP coverage definitions (§509.002).



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ROA.24-50721.75, 399-400. They did not challenge the targeted-advertising
provisions (§§509.052(2)(D), 509.055) or the age-verification provision (§509.057).
ROA.24-50721.399.
    On August 30, 2024, the district court granted the motion in part and enjoined
the monitoring-and-filtering provisions. ROA.24-50721.430-31. It concluded that

HB18’s threshold DSP definitions are content-based, triggering strict scrutiny for
the rest of the statute, because they target “social” platforms but exempt non-social
platforms like news and commerce DSPs. ROA.24-50721.411-15. According to the
district court, the monitoring-and-filtering provisions fail strict scrutiny as overbroad
(they apply to protected speech like discussions about eating disorders),
underinclusive (they apply to user-generated content but not provider-generated
content), and are not narrowly tailored. ROA.24-50721.417-21. The district court
also held that terms like “promote” and “glorify” are unconstitutionally vague.
ROA.24-50721.424-26. And it held that HB18’s monitoring-and-filtering provision

is preempted by §230 because HB18 imposes liability on DSPs for hosting third-
party content. ROA.24-50721.427-28.
    As for the remaining preliminary injunction factors, the district court concluded

that Plaintiffs faced irreparable harm from chilled speech and compliance costs,
outweighing Texas’s interest in child safety. ROA.24-50721.429-30.
      Texas appealed on September 5, 2024. ROA.24-50721.432.

      B.     SEAT v. Paxton
    On August 16, 2024, SEAT, M.F. (a minor), Brandon Closson (an online
advocate), and Ampersand Group (an advertising agency) sued General Paxton,

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alleging that HB18 chills their social-media speech and blocks their access to the
social-media speech of third parties. ROA.25-50096.12-52. The SEAT plaintiffs
challenged the same provisions as the CCIA plaintiffs but also challenged the
targeted-advertising provisions (§§509.052(2)(D), 509.055) and the age-verification
provision (§509.057). They argued that the provisions are content-based, overbroad,

unconstitutionally vague, and prior restraints. ROA.25-50096.12-52. They filed their
motion for preliminary injunction on August 23, 2024. ROA.25-50096.130-58, 844-
45.
      On February 7, 2025, the district court granted the motion in part, again
enjoining the monitoring-and-filtering provisions and, for the first time, enjoining
the targeted-advertising provisions and the age-verification provision. ROA.25-
50096.846-52, 872-73.
      The district court held that the SEAT plaintiffs had standing as users whose
speech is chilled by DSPs’ predictable compliance with HB18’s coercive penalties,

analogizing to Book People, Inc. v. Wong, 91 F.4th 318 (5th Cir. 2024). ROA.25-
50096.846-52.
      On the merits, the district court reaffirmed its CCIA holdings and found HB18’s

DSP definitions content-based for targeting “social” DSPs. Thus, it again applied
strict scrutiny to every challenged provision of HB18. ROA.25-50096.853-56.
      As for the targeted-advertising provisions, the district court concluded that they

lack a compelling interest, are overinclusive (banning beneficial advertisements), and
underinclusive (allowing ads elsewhere). ROA.25-50096.862-64. As for the age-
verification provision, the district court concluded that it lacked a compelling

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interest and was not narrowly tailored to its goal of protecting children from harmful
online content, and that it is overinclusive (deterring adult access) and
underinclusive (exempting non-social platforms). ROA.25-50096.864-66. The
district court also concluded that the monitoring-and-filtering and advertising
provisions use unconstitutionally vague terms like “promote” and “facilitate.”

ROA.25-50096.867-71.
    The district court held that the remaining preliminary injunction factors favored
the plaintiffs: chilled speech constitutes irreparable harm, and the public-interest
factor favors protecting plaintiffs’ First Amendment rights. ROA.25-50096.871-72.
    Texas again appealed, and this Court consolidated the CCIA and SEAT cases
on February 21, 2025. Dkt. No. 54.

                    Summary of the Argument
    The district court’s facial injunctions are fundamentally flawed and should be
reversed. To protect children, HB18 imposes targeted obligations on DSPs to
monitor and filter content promoting serious harms, restrict predatory advertising,
and verify user ages on platforms rife with obscenity. The district court’s rulings err
on jurisdictional, substantive, and procedural grounds, undermining Texas’s
compelling interest in protecting children. This Court should reverse the injunctions
outright, or at minimum vacate and remand for a proper analysis under Moody.

Alternatively, if it deems any provision facially unconstitutional, it should sever that
provision to preserve HB18’s valid applications.
    First, the SEAT plaintiffs lack Article III standing to challenge HB18. Their

online activities—educational posts, debate research, mental-health advocacy, and

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public-health campaigns—do not promote, glorify, or facilitate harms like suicide,
trafficking, or child pornography. M.F.’s use of Instagram for news and music,
SEAT’s anti-bullying posts, Closson’s recovery-focused content, and Ampersand’s
anti-trafficking ads align with HB18’s protective goals, not its prohibitions. Their
speculative fears about chilled speech or restricted access to third-party speech lack

the kind of concrete, non-speculative injury required by Lujan v. Defs. of Wildlife,
504 U.S. 555, 560-61 (1992). Their right-to-listen theory fails under Murthy, 603 U.S.
at 43, as they identify no specific speakers or content HB18 would block them from
accessing. Their injuries are neither traceable to potential HB18 enforcement nor
redressable by an order enjoining HB18, as DSPs already moderate much of the
content covered by HB18. And HB18 regulates DSPs, not individual users or
advertisers, so these plaintiffs face no credible threat of enforcement. Indeed, the
district court’s mistaken reliance on an enforcement action against TikTok—a
DSP—proves the point.

    Second, the district court’s First Amendment rulings defy logic and precedent.
The district court stumbled out of the gate by wrongly deeming HB18’s DSP
definitions content-based, triggering strict scrutiny for the entire statute, even

though the DSP definitions permissibly differentiate based on mediums—social
versus non-social platforms—and do not mention any specific kind of speech or
content. This error allowed the district court to apply strict scrutiny to every

provision of HB18, even though many applications of HB18 target commercial
speech, unprotected speech, or non-speech conduct—thus triggering lower scrutiny
or no scrutiny at all.

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    The district court next flouted Moody’s rigorous framework for facial challenges,
recently reaffirmed by this Court in NetChoice, LLC v. Fitch, No. 24-60341, 2025 WL
1135279 (5th Cir. Apr. 17, 2025). In Moody, every justice on the Supreme Court
agreed that facial challenges are disfavored and difficult to justify. Moody thus
requires courts to map a statute’s full range of applications, distinguishing the

constitutional from the unconstitutional, and ensure the unconstitutional
applications “substantially outweigh” constitutional applications before issuing a
facial injunction. Moody, 603 U.S. at 724. It is not enough to “discuss [a statute’s]
inclusion and exclusion of some of the activities and actors arguably regulated by the
law.” Fitch, 2025 WL 1135279, at *6 (emphasis added). But that is exactly what the
district court did here. It failed to thoroughly analyze HB18 at all, let alone to
acknowledge its many constitutional applications. The monitoring-and-filtering
provisions (§§509.053, 509.056) target narrow harms, and many of its applications
involve no protected speech at all. The targeted-advertising provisions

(§§509.052(2)(D), 509.055) curb predatory marketing targeted at minors and
advocating products, services, and activities that are illegal for minors, with available
parental overrides that ensure tailoring. The age-verification provision (§509.057),

upheld in a parallel law by this Court in Free Speech Coalition, 95 F.4th at 263,
permissibly restricts content that is obscene for adults and minors. Instead of
considering any of this, the district court speculated about a few hypothetical cases

without justifying them or properly weighing them against constitutional
applications.



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    Third, the district court’s vagueness holding is erroneous. Terms like
“promote,” “glorify,” and “facilitate” are clear under Texas law and used in DSP’s
own content-moderation policies. Other statutory terms, like “[h]arassment,” track
Texas Penal Code §42.07, which was upheld in Scott v. State, 322 S.W.3d 662 (Tex.
Crim. App. 2010). And “facilitate” mirrors federal aiding-and-abetting laws, upheld

in cases like United States v. Hansen, 599 U.S. 762 (2023). What’s more, platforms
like Instagram and Meta routinely use this kind of language to moderate identical
content, confirming the terms’ clarity and workability. The district court’s drug-
deregulation hypothetical ignores HB18’s child-protection context, and judicial
narrowing could resolve any ambiguity. See Grayned v. City of Rockford, 408 U.S. 104,
110 (1972) (“Condemned to the use of words, we can never expect mathematical
certainty from our language.”).
    Fourth, the monitoring-and-filtering provision is not preempted by 47 U.S.C.
§230. HB18 imposes compliance duties, not publisher liability, and it aligns with

§230’s encouragement of good-faith moderation. HB18 complements §230’s child-
protection goals, and plaintiffs cannot claim both §230 protection and First
Amendment violations—the theories are mutually exclusive, as the former claims

liability for third-party speech and the latter claims constitutional protection for the
platforms’ own speech.
    Fifth, if any challenged provision of HB18 is facially unconstitutional, HB18’s

severability clause preserves the remainder. Provisions like §509.053’s filtering of
child pornography and §509.057’s age verification for obscene content are



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unquestionably constitutional and operate independently. Severance will preserve
these and other provisions, as well as Texas’s child-safety mission.
    Finally, the remaining injunction factors—balance of equities and public
interest—favor Texas. Texas’s interest in protecting children outweighs the
plaintiffs’ unfounded harms about access to things like drug-legalization debates,

which are not regulated by HB18 in any event. The public-interest factor favors child
safety, a paramount societal goal, over plaintiffs’ speculative First Amendment
concerns. The district court’s cursory analysis incorrectly weighed these factors,
ignoring HB18’s tailored approach and Texas’s duty to protect children.
    This Court should reverse the facial injunctions for lack of standing or on the
merits, given the court’s failure to conduct a proper Moody analysis, erroneous
vagueness and preemption holdings, and misapplication of the injunction factors.
Alternatively, it should vacate and remand for a thorough analysis under Moody and
Fitch, or sever any unconstitutional provisions, upholding HB18’s vital role in

shielding Texas children from online harms.

                          Standard of Review
    “A preliminary injunction is an extraordinary remedy.” Atchafalaya Basinkeeper
v. U.S. Army Corps of Engs., 894 F.3d 692, 696 (5th Cir. 2018). Plaintiffs seeking
preliminary injunctions must demonstrate that they are likely to succeed on the

merits, that they are likely to suffer irreparable harm in the absence of such relief,
that the balance of equities tips in their favor, and that an injunction is in the public
interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).



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     When reviewing preliminary injunctions for legal error, this Court does not
apply blind deference. Questions of law—standing, First Amendment violations,
and preemption, for example—are reviewed de novo. Id.

                                   Argument

I.     The SEAT Plaintiffs Lack Article III Standing.
     The SEAT plaintiffs—SEAT, M.F., Closson, and Ampersand—lack Article III
standing to challenge HB18, depriving the district court of jurisdiction to adjudicate

their facial challenges. Thus, at a minimum, this Court should reverse the
injunctions of the provisions only the SEAT plaintiffs challenge: the targeted-
advertising provisions and the age-verification provision.
     Article III standing ensures federal courts resolve concrete disputes, not abstract
grievances. TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021). To establish
standing, a plaintiff must show (1) an injury in fact that is concrete, particularized,

and actual or imminent; (2) that the injury in fact is traceable to the defendant’s
conduct; and (3) that a favorable ruling would redress the injury in fact. Lujan, 504
U.S. at 560-61. For pre-enforcement challenges seeking prospective injunctive relief,
plaintiffs must show (1) “an intention to engage in a course of conduct arguably
affected with a constitutional interest,” (2) “arguably proscribed” by the statute,
and (3) a “substantial threat of enforcement.” Book People, 91 F.4th at 329.

Speculative harm and “general legal, moral, ideological, or policy objection[s]” are
not enough. FDA v. All. for Hippocratic Med., 602 U.S. 367, 381 (2024). And a “right
to listen” injury demands a specific speaker-listener connection, not a vague desire



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to access unspecified content. Murthy, 603 U.S. at 74-76. For associational standing,
the association must be comprised of members who would themselves have standing,
the claims must not require individual participation, and the association’s interests
must be germane to the organization’s purpose. Ass’n of Am. Physicians & Surgeons,
Inc. v. Tex. Med. Bd., 627 F.3d 547, 550 (5th Cir. 2010).

    Here, M.F., a 16-year-old, claims to use social media for news, music, and debate
research, and he fears HB18 blocks content about bullying and suicide. ROA.25-
50096.171-75. SEAT, an advocacy group, claims that HB18 will regulate it and its
members posts advocating against bullying and suicide. ROA.25-50096.177-82.
Closson, an adult, claims to fear HB18’s restrictions because he shares helpful
mental-health content with minors. ROA.25-50096.164-70. Ampersand, an
advertising agency, claims to run public-health campaigns without using PII to target
minors by age. ROA.25-50096.159-63. The district court found that each of these
plaintiffs has standing, citing their intent to engage with regulated content and a

Texas HB18 enforcement suit against TikTok as evidence of a threat of enforcement.
ROA.25-50096.847-50.
    That holding is plainly wrong. The SEAT plaintiffs’ conduct falls outside

HB18’s scope, and they face no threat of enforcement because they are not DSPs.
Their claimed injuries also lack traceability and redressability.




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      A.     The SEAT plaintiffs do not engage in conduct proscribed by
             HB18.
             1.     SEAT and its members.
     SEAT and its members lack standing because their activities and posts are not
proscribed by HB18.
    SEAT lacks individual standing because its Instagram posts don’t promote
content prohibited by HB18—they advocate against it. Its posts on Instagram seek

to educate youth about bullying and suicide, not glorify or promote them. ROA.25-
50096.177-82. Its sharing of resources about sexual assault, ROA.25-50096.179-80,
likewise supports HB18’s aims, not its prohibitions. As for advertising restrictions,
SEAT isn’t an advertiser, so §§509.052 and 509.055 don’t apply to it. And its vague
advertising concerns about posting social-media campaigns to decriminalize certain
activity, ROA.25-50096.181, lack the specificity required to establish standing. In any
event, minors have no right to view advertisements promoting illegal conduct, and
SEAT makes vague references to banned books but fails to identify a single banned
book by name. ROA.25-50096.181. Nor does §509.057’s age-verification

requirement for obscenity affect SEAT’s platform or any platforms it intends to use,
because SEAT itself doesn’t post obscenity or indicate any desire to access platforms
filled with it. ROA.25-50096.177-82.

    SEAT also lacks associational standing because its members lack individual
standing, as their conduct isn’t even arguably proscribed by HB18. The members’
discussions about bullying, suicide, and sex education aim to raise awareness and

provide resources, not to “promote, glorify, or facilitate” bullying, suicide, or sexual



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abuse. ROA.25-50096.178. Posting about sexual assault to educate peers, ROA.25-
50096.179-80, doesn’t trigger §509.053’s filters, which target encouragement of
harm, not advocacy or education against it. Likewise, SEAT’s members’ access to
sex-education content, ROA.25-50096.178, remains unaffected, as HB18 doesn’t bar
educational discussions. As for targeted ads, §509.055’s focus on illegal products,

services, and activities doesn’t implicate SEAT’s members, who seek public-health
resources, none of which are alleged to be illegal for minors. ROA.25-50096.178-81.
Section 509.057’s age-verification requirement applies to platforms rife with
obscenity, and SEAT’s members don’t claim to use any platform that would be
regulated by that provision. Without identifying proscribed conduct, SEAT’s
members lack standing, and thus so does SEAT. Ass’n of Am. Physicians & Surgeons,
627 F.3d at 550.
    The district court erred by holding that SEAT has individual and associational
standing, claiming its “planned educational Instagram posts concern[ing] bullying,

sexual assault, and suicide” are proscribed by HB18. ROA.25-50096.847. That
misreads HB18’s text, which doesn’t regulate content that “concerns” these topics
but content that “promotes, glorifies, or facilitates” it. §509.053(a). The district

court’s “concern[ing]” standard misreads the statute and lowers the jurisdictional
bar to the floor. ROA.25-50096.847. The district court’s single example—SEAT’s
posts advocating against bullying, sexual assault, and suicide—ignores their

educational and advocacy purposes, which align with HB18’s purposes. SEAT does
not claim that it intends to post material promoting, glorifying, or facilitating any of
the topics listed in §509.053(a). The district court also failed to analyze SEAT’s

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members’ conduct, overlooking the requirement that associations’ members
themselves must face direct harm. Summers v. Earth Island Inst., 555 U.S. 488, 498
(2009). The district court provided no analysis of §§509.052, 509.055, or 509.057,
and wrongly conferred standing across all provisions without tying SEAT’s actions
to HB18’s scope. That cursory approach violates the requirement for a “personal

stake” in each challenged rule, Summers, 555 U.S. at 493, and impermissibly
dispenses “standing . . . in gross,” Town of Chester v. Laroe Ests., Inc., 581 U.S. 433,
439 (2017).

              2.    M.F.
    M.F., a 16-year-old, lacks standing to challenge HB18, because he uses social-
media for news, music, and debate-research content that is not proscribed by HB18.
    M.F.’s affidavit outlines his use of platforms like Instagram to communicate
with friends, find musical inspiration, research debate topics like marijuana
legalization, and support his peers by learning about the dangers of bullying, vaping,
and suicide. ROA.25-50096.171-75. He is concerned that HB18 will prevent him
from listening to songs like The Fray’s “How to Save a Life,” reading election news,
and receiving unspecified targeted advertisements. ROA.25-50096.172-75. HB18

won’t prohibit any of this.
    Connecting with friends, researching debate arguments, and seeking resources
to help peers does not promote, glorify, or facilitate any harm listed in §509.053(a)—

like suicide or sexual abuse. To the contrary, content that advocates against bullying
and substance abuse furthers HB18’s purpose of protecting minors. Discussions
about marijuana legalization for a debate tournament are political discourse, not

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glorification or facilitation of substance abuse, and research into cyberbullying’s
negative effects doesn’t promote harassment. M.F.’s fear that songs like “How to
Save a Life” might be blocked misinterprets §509.053, which targets content
encouraging harm, not artistic expression addressing serious topics. And, in any
event, the song’s theme of saving life and preventing suicide aligns with HB18’s

goals, not its prohibitions, rendering M.F.’s claimed concerns totally speculative.
    M.F.’s standing to challenge the targeted-advertising claims fares no better.
M.F.’s affidavit vaguely mentions advertisements but includes no claim that he seeks
advertisements promoting unlawful products, services, or activities, which is all that
§509.055 prohibits. More importantly, M.F. has no constitutional First Amendment
right to view advertisements targeted at him for products, services, or activities that
are illegal for him. Pittsburgh Press Co. v. Pittsburgh Comm’n on Hum. Rels., 413 U.S.
376, 388 (1973); United States v. Williams, 553 U.S. 285, 297 (2008). Nor is his
interest in public-health advertisements, like those about vaping’s dangers, affected.

Section 509.055 targets only advertisements that “facilitate, promote, or offer”
illegal products, services, or activities, not advertisements about their dangers.
    Similarly, M.F. has no standing to challenge §509.057’s age-verification

requirement for obscenity. That provision applies to platforms on which over one-
third of content is obscene for adults or minors under Texas law. M.F. uses platforms
like Instagram, which are not covered by the provision, and expresses no intent to

access provisions that are. In any event, minors like M.F. have no First Amendment
right to view obscenity, Ginsberg v. New York, 390 U.S. 629 (1968), and HB18 applies
to DSPs, not users. M.F. therefore faces no statutory obligation to verify his own age.

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    The district court erred by holding that M.F. has standing to challenge all of
HB18 provisions, claiming his affidavit shows intent to engage with content
“prohibited” by the statute. ROA.25-50096.847-48. That conclusion misreads both
M.F.’s testimony and HB18’s text. The district court claimed that M.F. feared
losing access to music like “How to Save a Life” or “Everybody Hurts” due to

suicide references, ROA.25-50096.847, but §509.053 doesn’t bar songs about the
value (or difficulties) of life; it bars content promoting, glorifying, or facilitating
suicide. M.F.’s affidavit establishes no intent to view those topics—his own speech
seeks to prevent suicide and bullying, not promote, glorify, or facilitate them.
ROA.25-50096.173-74. As for advertising and age verification, the court offered no
specific analysis; it merely assumed M.F.’s injury. ROA.25-50096.848. This cursory
approach ignores §509.052’s parental override, §509.055’s narrow scope, and
§509.057’s inapplicability to M.F.’s interests and the platforms he uses. By failing to
scrutinize his testimony against HB18’s text, the district court adopted a speculative

injury, contravening Clapper’s demand for imminent harm. Clapper v. Amnesty Int’l
USA, 568 U.S. at 398, 409-10 (2013).

             3.     Closson.
    Brandon Closson, an adult who shares mental-health content online, lacks
standing to challenge HB18 because his advocacy of minors is unaffected by the
statute’s prohibitions.

    Closson posts on Instagram about bipolar disorder, eating disorders, substance-
abuse recovery, and his LGBTQ+ identity to help people feel less alone and reduce
shame and stigma around mental health. ROA.25-50096.165-69. He seeks to help

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minors recognize symptoms, guide some to professional help, ROA.25-50096.165-
66, and discuss his journey from substance abuse to recovery, ROA.25-50096.167.
He also seeks to discuss the intersectionality of being gay and bipolar. ROA.25-
50096.168. He fears HB18 will block these posts, prevent his minor followers from
receiving mental-health advertisements, and deter those who prefer to maintain an

anonymous online presence and thus will not want to verify their ages. ROA.25-
50096.169.
    None of this is prohibited by HB18. Closson’s posts promoting recovery and
criticizing stigma align with §509.053(a)’s protective goals. So does sharing his
bipolar and LGBTQ+ experiences to protect minors. ROA.25-50096.165-66, 168.
His fear of blocked posts, ROA.25-50096.169, is speculative because §509.053
targets DSPs, not users. As for advertising concerns, his worry about minors’
mental-health advertisements, ROA.25-50096.169, lacks a personal stake, as he’s
neither an advertiser nor a minor. As for age verification, Closson cites others’ needs

for anonymity, not his own. ROA.25-50096.169. Nor do his posts trigger §509.057,
as there is no allegation that at least one-third of the content on Instagram is obscene
for adults or minors. Without anything further, Closson’s claim of chilled speech

lacks the required specificity. Speech First, Inc. v. Fenves, 979 F.3d 319, 335 (5th Cir.
2020); Zimmerman v. City of Austin, 881 F.3d 378, 388-91 (5th Cir. 2018).
    The district court incorrectly determined that Closson’s fears of blocked posts

established an injury in fact. ROA.25-50096.847-48. The district court ignored that
§509.053(a) focuses on material promoting, glorifying, and facilitating, not policy
advocacy, outreach, or education. The district court also failed to discuss Closson’s

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standing to challenge the advertising provisions, ROA.25-50096.847-48, and
overlooked his claimed harms that involve people other than himself—like minors
and users who seek anonymity, of which he is neither.

             4.     Ampersand.
    Ampersand, an advertising agency, lacks standing to challenge HB18 because
HB18 does not prohibit its public-health campaigns.
    Ampersand creates advertisements warning about sex trafficking and substance
abuse, which can be seen by minors but do not target them using PII. ROA.25-

50096.161-62. Ampersand fears that HB18 will block these campaigns or require age
verification. ROA.25-50096.159-63. But its campaigns aim to prevent harm, not
promote, glorify, or facilitate it. ROA.25-50096.161. Its ads don’t promote trafficking
or substance abuse under §509.053(a)—they oppose them, aligning with HB18’s
goals. As a non-DSP, Ampersand faces no filtering or algorithm duties, §§509.053,
509.056, negating any potential injury under those provisions. As for the advertising
provisions, §509.055’s ban on advertisements for illegal products, services, and
activities doesn’t affect Ampersand’s health campaigns. ROA.25-50096.161. And
section 509.052’s targeted-advertising ban applies to DSPs, not agencies. Further,

Ampersand admits its advertising doesn’t target minors using PII, and thus §502.052
doesn’t apply to it. As for age verification, that requirement regulates DSPs, not
Ampersand. Nor would the age-verification provision otherwise implicate

Ampersand, which doesn’t claim to use a DSP whose content is at least one-third
obscene, or to post advertisements involving obscene content. Given that
Ampersand doesn’t intend to engage in proscribed conduct, it lacks standing.

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    The district court erred by holding to the contrary. It claimed that HB18 would
prevent Ampersand from viewing posts deemed harmful or obscene, ROA.25-
50096.848, but this mischaracterizes Ampersand’s role. Ampersand is an
advertising agency, not a user posting or viewing content, ROA.25-50096.838, and
HB18’s filtering and age-verification rules target DSPs, not advertisers, §§509.053,

509.057. The district court’s reliance on obscenity as a basis for injury, ROA.25-
50096.848, ignores that obscenity lacks First Amendment protection, Miller v.
California, 413 U.S. 15, 36 (1973), and that Ampersand’s campaigns don’t involve
obscene material, ROA.25-50096.161. As for standing to challenge the monitoring-
and-filtering requirements, the district court offered no analysis linking Ampersand
to §509.053’s DSP duties. As for standing to challenge the targeted-advertising
provisions, the court failed to address Ampersand’s testimony that it avoids age-
based targeting using PII and focuses on lawful health campaigns, ROA.25-
50096.161-62, thus implicating neither §509.052 (prohibiting advertising targeted at

minors) nor §509.055 (prohibiting advertisements for products, services, or
activities that are illegal for minors). By neglecting to evaluate each provision against
Ampersand’s sworn statements, the district court improperly conferred standing.

      B.     No SEAT plaintiff faces a threat of HB18 enforcement.
    No SEAT plaintiff faces a credible threat of enforcement under HB18, as the
statute is enforceable against DSPs, not users or advertisers, leaving them without a
cognizable injury sufficient to bring a facial challenge.
    Plaintiffs seeking prospective, pre-enforcement relief must show a substantial

threat that the challenged law will be enforced against them. Susan B. Anthony List

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v. Driehaus, 573 U.S. 149, 166 (2014). Speculative fears of prosecution are
insufficient. Younger v. Harris, 401 U.S. 37, 41-42 (1971).
    M.F. is a minor who uses social media for research and communication.
ROA.25-50096.171-75. SEAT is an advocacy group; it and its members post about
bullying and suicide. ROA.25-50096.177-82. Closson is an adult who shares mental-

health content. ROA.25-50096.164-70. Ampersand is an advertising agency that
creates public-health campaigns. ROA.25-50096.159-63, 838. HB18 will not be
enforced against these plaintiffs, because it authorizes the Texas Attorney General
to sue only DSPs, and the SEAT plaintiffs are not DSPs. §§509.151-509.152. HB18
imposes no penalties, and allows no enforcement, against users like M.F., SEAT, or
Closson, or advertisers like Ampersand. ROA.25-50096.838. The SEAT plaintiffs’
affidavits establish no enforcement actions or threats of enforcement against them or
others similarly situated. ROA.25-50096.159-82.
    In holding to the contrary, the district court relied on Texas’s enforcement

action against TikTok, ROA.25-50096.849, without acknowledging that TikTok,
unlike the SEAT plaintiffs, is a DSP. By citing an action against a DSP as evidence of
enforcement against the non-DSP SEAT plaintiffs, the court misconstrued the

statute’s scope and committed reversible error.

      C.     The SEAT plaintiffs’ right-to-listen theory fails to establish
             standing.
    The SEAT plaintiffs also lack standing under their right-to-listen theory, as they
fail to identify any third-party speakers or content that HB18 would regulate,




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rendering this alleged injury speculative and insufficient to confer Article III
jurisdiction.
    A right-to-listen injury requires a concrete, specific connection to a speaker
whose content is restricted by the challenged law. Murthy, 603 U.S. at 74-76. Broad
desires to access unspecified social-media content are insufficient. Speech First, 979

F.3d at 335.
    Here, the SEAT plaintiffs claim that HB18 chills their ability to receive and
engage with other users’ social-media content, ROA.25-50096.37-38, but they do not
identify any third party whose speech HB18 would prevent them from hearing or
seeing. M.F. discusses election news and researches debate issues like marijuana
legalization, ROA.25-50096.171-73, which do not involve a third party’s speech or
the harmful promotion, glorification, or facilitation targeted by §509.053(a). “How
to Save a Life,” which is third-party speech, addresses suicide prevention, not
glorification, and thus aligns with HB18’s protective goals, not its prohibitions.

SEAT’s posts about social issues seek to educate minors, not harm them. ROA.25-
50096.177-82. Its members’ affidavits similarly lack any reference to third parties
whose speech is restricted. ROA.25-50096.178. Closson’s single mention of a

Twitch streamer, ROA.25-50096.165, does not mention the speaker’s identity or
content beyond “news commentary,” which §509.053(a) doesn’t proscribe. His
affidavit otherwise highlights his own posts, not third-party posts, ROA.25-

50096.164-70, undermining a right-to-listen claim. Ampersand’s testimony
addresses creating advertisements, not accessing third-party content. ROA.25-
50096.159-63. It identifies no speakers or topics HB18 would regulate, offering only

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vague fears that HB18 will restrict its own campaigns, which doesn’t implicate the
speech or listening rights of third parties.
    The SEAT plaintiffs’ generalized concerns about losing access to unspecified
posts resemble the overbroad assertions rejected in Murthy, where plaintiffs argued
social-media content was critical to their work but failed to specify moderated third-

party speakers or content. 603 U.S. at 75. The district court distinguished Murthy by
claiming HB18 directly bans speech, ROA.25-50096.850, but that misses the right-
to-listen injury’s core requirement: a specific connection to a blocked third-party
speaker, 603 U.S. at 75. The SEAT plaintiffs’ affidavits fail to provide any examples
of restricted third-party speakers or content.

      D.     The SEAT plaintiffs’ injuries are neither traceable to HB18
             enforcement nor redressable by a facial injunction.
    Even assuming the SEAT plaintiffs have suffered cognizable injuries, the injuries
are not traceable to HB18 enforcement or General Paxton, or redressable by an order
enjoining him from enforcing it.
    To establish standing, a plaintiff must show that its “injury is fairly traceable to
the defendant’s actions” and will “likely be redressed if he prevails in his lawsuit.”
Sierra Club, Lone Star Chapter v. Cedar Point Oil Co., 73 F.3d 546, 556 (5th Cir. 1996)
(internal quotation marks omitted). To be traceable, an injury must be “certainly

impending,” not dependent on a “speculative chain of possibilities.” Clapper, 568
U.S. at 414. This showing is “substantially more difficult to establish” when a
plaintiff asserts injuries based on the government’s regulation of someone else,

Lujan, 504 U.S. at 562 (citation omitted), because courts are reluctant “to endorse


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standing theories that require guesswork as to how independent decisionmakers will
exercise their judgment,” Clapper, 568 U.S. at 413.
    Here, the district court found that plaintiffs’ alleged injuries are traceable to
“government action” because HB18 “requires DSPs to make certain changes to
their policies.” ROA.25-50096.849. It then determined that their injuries are

redressable because “if HB 18’s enforcement is enjoined in relevant part, DSPs have
no reason to make the policy changes it requires.” ROA.25-50096.849.
    That is wrong for the reasons articulated in Murthy. There, the plaintiffs failed
to establish standing because their alleged injuries—moderation of their online
content—were not traceable to the federal government’s actions. Specifically, the
plaintiffs alleged that federal agencies and officials engaged in censorship by coercing
social-media platforms to suppress content relating to, among other things, COVID-
19 and the 2020 presidential election. 603 U.S. at 48-56. But the Court held that any
injuries caused by the alleged censorship were not traceable to the federal

government’s actions, id. at 76, because the “platforms had independent incentives
to moderate content and often exercised their own judgment,” id. at 60.
    So too here. DSPs admittedly engage in abundant content-moderation practices,

many of which overlap with HB18’s requirements. See infra 44-47; ROA.24-
50721.137, 145-53, 162-71, 187-90 (testifying that even before HB18 was enacted,
DSPs moderated content in many of the same ways). For example, before the

Legislature enacted HB18, DSPs were already moderating content that promoted
self-harm and glorified eating disorders, infra 44-45, and those practices worked
alongside DSP policies protecting minors, ROA.24-50721.147. If any plaintiff

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attempts to view “harmful material” on a DSP like Facebook or Instagram today,
Meta’s policies already block such content. ROA.24-50721.151. The same is true of
platforms like X, YouTube, and Pinterest. ROA.24-50721.151-52. With these
moderation policies already in place, Plaintiffs cannot establish that any future
moderation decision will be triggered by HB18 rather than a DSP’s existing content-

moderation policy. As in Murthy, existing content-moderation policies weaken the
likelihood that any future content restriction is traceable to a potential HB18
enforcement action rather than existing policies. Thus, an order enjoining HB18 will
not redress plaintiffs’ speculative future injuries, because DPSs have not indicated
any intention to stop the moderation policies that precede and overlap with HB18’s
requirements.

II.    The District Court’s Flawed First Amendment Analysis Ignored
       Moody’s Requirements and Requires Reversal, or at Minimum
       Vacatur and Remand.
       The Texas Legislature carefully crafted HB18 to impose targeted
protections—monitoring-and-filtering       requirements,     algorithm     adjustments,
prohibitions on predatory advertising, and age-verification requirements for
platforms full of obscenity. Yet the district court facially enjoined these provisions

on First Amendment grounds. Those holdings rested on erroneous and inadequate
legal analysis.
       The district court’s determination that HB18’s threshold coverage definitions
are themselves content-based was not only wrong but also infected the rest of its
analysis, as it allowed the district court to apply strict scrutiny to every provision of



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HB18 without properly determining the appropriate level of scrutiny for each
potential application of the statute, as Moody and Fitch require. Rather than
thoroughly examine the law’s potential applications and weigh the constitutional
against the unconstitutional, the district court speculated about edge cases and
concluded without systematic analysis that the law’s main provisions are facially

invalid. This Court should correct those errors by reversing or, at a minimum,
vacating the injunctions and remanding for the required analysis under Moody and
Fitch.

         A.   HB18’s threshold coverage definitions are content-neutral.
    The district court erred by concluding that HB18’s threshold coverage
definitions—provisions specifying which DSPs the statute regulates—are
themselves content-based, thereby subjecting the entire statute to strict scrutiny.
ROA.24-50721.411; ROA.25-50096.853. This conclusion contravenes controlling
Supreme Court precedent in Turner I and persuasive reasoning from this Court’s
decision in NetChoice I. The error infected both orders and should be corrected.
    In Turner I, the Supreme Court held that the 1992 Cable Act’s “must-carry”

provisions were content-neutral and subject to intermediate scrutiny. 512 U.S. at
642, 662. There, the cable industry alleged that the provisions, which required cable
operators to include local broadcast stations in their offerings, violated the First

Amendment by dictating content. Id. at 626-27. The Court explained that the rules
did not target “the ideas or views expressed” but instead the technological and
economic structure of cable systems. Id. at 643. The law applied uniformly,
regardless of programming’s subject matter—whether news, entertainment, or

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otherwise—and did not favor or disfavor any particular message. Id. at 645-46. The
Court emphasized that singling out a medium does not trigger First Amendment
concerns if the regulation hinges on the medium’s mechanics rather than its content.
Id. at 642.
    In NetChoice I, this Court relied on Turner I in holding that the threshold

coverage definitions in a parallel statute, HB20, were not content-based. 49 F.4th at
480-81. HB20 regulated “social media platforms” while exempting websites
primarily dedicated to news, sports, or entertainment, where social interaction was
“incidental.” Id. at 480. This Court applied Turner I, reasoning that HB20’s
distinctions were not content-based because they differentiated between mediums,
not messages or ideas. Id. Although Moody later vacated NetChoice I for failing to
conduct a proper facial analysis, 603 U.S. at 745, it left undisturbed NetChoice I’s
content-neutrality analysis, which remains persuasive, see Melot v. Bergami, 970 F.3d
596, 599 n.11 (5th Cir. 2020) (explaining that vacated opinions offer helpful guidance

when consistent with binding law).
    Here, HB18’s threshold coverage definitions resemble HB20’s and align with
Turner I’s content-neutral framework. HB18 applies to DSPs “primarily”

facilitating “social interaction,” such as platforms where users drive conversation
through posts, comments, or shares. §509.002(a)(1). It exempts platforms where
social interaction is “incidental,” like those focused on news, sports, commerce, or

provider-generated    content.    §509.002(b)(10).     These    are   medium-based
distinctions, not content-based distinctions—the provisions do not target any
specific speech content.

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    The district court erred by holding to the contrary. It claimed that the coverage
provision “singles out specific subject matter” by regulating “social” DSPs while
exempting others. ROA.24-50721.412; ROA.25-50096.853. It did not explain what
“subject matter” the provision targets. Nor could it have, because distinguishing
between social platforms and non-social platforms is not a content-based distinction.

Social speech can (and does) encompass any topic. The district court’s failure to
identify a specific “topic discussed or message expressed” targeted by the
definitions reveals the weakness of its position. And its underinclusivity critique
misapplies First Amendment doctrine. Texas may prioritize social DSPs, where
harms to minors are most acute, without regulating every platform on the internet.
    The district court leaned heavily on Reed v. Town of Gilbert, 576 U.S. 155 (2015),
and Barr v. American Association of Political Consultants, Inc., 591 U.S. 610 (2020),
but those cases do not support its conclusion. In Reed, the Supreme Court held
unconstitutional a municipal sign code that imposed different requirements on

temporary directional signs (e.g., for church services) and more long-term political
signs (e.g., for elections). 576 U.S. at 159-61. The Court explained that the code was
content-based because it required officials to examine the sign’s message to

determine which restrictions applied, explicitly regulating “the topic discussed or
the idea or message expressed.” Id. at 163-64. The Court clarified that a law is
content-based if it “applies to particular speech because of” its subject matter or

function, drawing lines based on what the speaker conveys. Id.
    In Barr, the Supreme Court invalidated a robocall ban exemption for
government-debt-collection calls, finding it content-based because it favored one

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specific topic—government debt collection—over all others, and required a content
review before applying the rule. 591 U.S. at 619-20 (plurality op.). The plurality
opinion underscored that such differential treatment based on “specific subject
matter” is content-based, triggering strict scrutiny. Id. (citation omitted).
    Reed and Barr are distinguishable. In those cases, one could easily identify the

speech content being regulated. In Reed, political speech was favored over religious
speech; in Barr, government debt calls were favored over all other debt calls. Here,
one cannot read the coverage definitions and determine what kind of content or
message is being targeted. The definitions distinguish platforms based on who is
primarily responsible for generating the content—users or providers—not the
content itself. Social speech can be about anything. So can non-social speech.
    By mischaracterizing HB18’s threshold coverage definitions as content-based,
the district court subjected the entire statute to an unjustified strict-scrutiny
standard. This foundational error demands reversal to ensure HB18, which is the

subject of a facial challenge, is properly analyzed through a rigorous Moody analysis
that carefully considers all of the law’s potential applications, and the appropriate
level of scrutiny for each.2




    2
      Before the district court, the CCIA and SEAT plaintiffs argued that HB18
imposes prior restraints. The district court determined that it “need not reach the
issue,” ROA.25-50096.871, and thus Texas does not address it here. But Texas
reserves its right to address that argument on reply, should plaintiffs raise it in
response.

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      B.     The monitoring, filtering, and algorithm provisions are not
             facially invalid.
    HB18’s monitoring-and-filtering provisions, §§509.053 and 509.056(1), embody
Texas’s commitment to shielding minors from online harm. Yet the district court

declared them facially invalid. In doing so, it failed to conduct the analysis Moody and
Fitch require for facial challenges, and thus the injunctions should be reversed.
    Moody affirms that facial challenges are disfavored and establishes a stringent

framework for justifying them. 603 U.S. at 723. The Court emphasized again and
again that the decision to bring a facial challenge “comes at a cost” and that plaintiffs
bringing them must clear a “high bar,” given that facial challenges require

invalidating a law in all its potential applications. Id. Moody involved challenges to
Texas and Florida social-media laws that lower courts facially enjoined without fully
assessing the full scope and constitutionality of the laws. Id. at 717-18. The Court
vacated the facial injunctions, holding that a proper facial analysis requires two steps:
first, mapping the statute’s “full range” of applications by identifying the actors and
activities regulated and distinguishing between constitutional and unconstitutional

applications; second, weighing the former against the latter and determining whether
unconstitutional applications “substantially outweigh” constitutional ones. Id. at
717, 724. Only then may a district court facially enjoin a statute. This standard is

intentionally difficult to meet.
    Less than two weeks ago, this Court reaffirmed Moody and vacated a preliminary
injunction of a similar law, remanding the case to the district court for a thorough
Moody analysis. Fitch, 2025 WL 1135279, at *7. In Fitch, NetChoice brought similar



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challenges to a similar law, Mississippi HB1126. Id. at *1. Although the district court
discussed the bill’s “inclusion and exclusion of some of the activities and actors
arguably regulated by the law, it did not address the full range of activities the law
covers, as required by Moody.” Id. at *6 (cleaned up) (emphasis added). That error
warranted vacatur and remand.

    Here, as in Fitch, the district court failed to conduct an adequate Moody analysis.
At step one, the district court did not come close to satisfying Moody’s requirement
of identifying the full range of actors and activities regulated and distinguishing
between constitutional and unconstitutional applications. It failed to meaningfully
map §509.053’s potential applications at all, and it offered no systematic account of
which DSPs or content the law targets. Instead, it speculated that a minor could read
Peter Singer’s writings about physician-assisted suicide on Google Books but not
watch his lectures on YouTube or review his book on Goodreads. ROA.24-
50721.420; ROA.25-50096.860. The court offered no analysis explaining how

Goodreads—a non-plaintiff—qualifies as a covered DSP under HB18. Nor did it
rigorously distinguish between constitutional and unconstitutional applications of
§509.053. Although it acknowledged Texas’s compelling interest in prohibiting

posts involving child pornography—a priority rooted in common sense and decades
of Supreme Court precedent—it summarily dismissed other constitutional
applications. The district court speculated that §509.053 might cover advocacy for

“deregulation of drugs” or “physician-assisted suicide,” but it never explained how
that content is covered by the statute’s operative terms—“promoting,”
“glorifying,” or “facilitating” things like substance abuse and suicide. ROA.24-

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50721.418. Moody and Fitch demand much more. 603 U.S. at 723; Fitch, 2025 WL
1135279, at *6.
    Although it is not Texas’s burden to conduct a Moody analysis, 603 U.S. at 743-
44, it briefly does so here only to show just how inadequate the district court’s
analysis was. HB18 has many potential applications that trigger no scrutiny at all and

thus easily pass constitutional review. For example, §509.053 could permissibly
require DSPs to block a chatroom where users coordinate stalking—a criminal act
under Texas Penal Code §42.072, punishable as a felony. Such content, as the
Supreme Court held in Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 498 (1949),
receives no First Amendment protection when it is “an integral part of conduct in
violation of a valid criminal statute.” Similarly, §509.053 could require DSPs to filter
posts containing explicit child sexual abuse, which the Supreme Court categorically
excluded from First Amendment protection in New York v. Ferber, 458 U.S. 747, 758
(1982). The district court should have given these applications at least as much

weight as its own speculative outlier cases.
    Beyond unprotected speech, §509.053 may also permissibly regulate conduct
with incidental speech effects, further adding to its constitutional applications. A

video providing detailed instructions for constructing a suicide bomb could be
filtered as “facilitating self-harm.” This targets dangerous behavior, not expression,
and may well satisfy even intermediate scrutiny under United States v. O’Brien, 391

U.S. 367, 377 (1968), which affirmed bans on conduct where speech is incidental.
Filtering such tutorials would serve Texas’s interest in child safety without broadly
censoring speech. And even where §509.053 implicates protected speech, some

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applications could withstand strict scrutiny. A social media thread “glorifying”
bulimia with step-by-step starvation tips, targeted at middle-school children, could
be permissibly regulated given Texas’s compelling interest in protecting the health
and safety of young children.
    The district court failed at Moody step two as well, because it failed to weigh

constitutional applications against unconstitutional ones—a critical omission. 603
U.S. at 726. It branded terms like “promoting,” “glorifying,” and “grooming”
“exceedingly overbroad” without assessing their full range of applications. ROA.24-
50721.418. That was a surprising omission, especially given that HB18 requires DSPs
to filter several categories of illegal conduct or material—child pornography,
trafficking, and sexual abuse, for example—which alone contradicts the district
court’s conclusory and dismissive overbreadth holding. The district court’s
concerns about hypothetical drug policy discussions ignore §509.053’s narrow focus
on unprotected speech, like child pornography, undermining its claim that the

provision sweeps too broadly. Combined with other obviously valid uses, like
blocking stalking forums, weapons-making guides, or drug-use tutorials, HB18’s
constitutional applications are not substantially outweighed by the court’s

hypothetical concerns about drug legalization. Moody and Fitch require rigorous
weighing and balancing, which the district court did not do.
    Finally, in a footnote, the district court also enjoined §509.056(1). ROA.25-

50096.862 n.14. That provision requires DSPs to ensure that their algorithms
“support the requirements” of §509.053. The district court summarily enjoined
§509.056(1), assuming its invalidity—presumably tying it to the monitoring-and-

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filtering holding—without any independent analysis. ROA.25-50096.862 n.14. This
again defies Moody’s mandate for a rigorous, application-by-application analysis of
facial challenges and warrants reversal. 603 U.S. at 723. The district court’s failure
to identify any unconstitutional application of §509.056(1)—let alone show that such
applications “substantially outweigh” constitutional ones—exemplifies its

disregard for Moody’s rigorous framework, necessitating reversal or, at minimum,
vacatur and remand for a proper analysis.

      C.     The targeted-advertising provisions are not facially invalid.
    HB18’s targeted-advertising provisions, §§509.052(2)(D) and 509.055, address
the exploitation of minors through tailored online advertisements that promote
unlawful products, services, or activities. The district court enjoined them as facially
unconstitutional, asserting they prohibit protected speech. That conclusion rests on
an improper application of strict scrutiny—rooted in the court’s flawed coverage-

definitions ruling—and a failure to undergo a proper Moody analysis. Reversal or
vacatur are warranted here, too.
    Section 509.052(2)(D) prohibits DSPs from directing “targeted advertising” at
minors. Section 509.055 imposes a narrower restriction, barring advertisers from
targeting minors with advertisements that “facilitate, promote, or offer” products,
services, or activities unlawful for minors in Texas. The district court assumed both

provisions primarily regulate fully protected speech, rather than non-protected
speech or commercial speech, and then summarily concluded that a “substantial
majority” of affected advertisements would be unconstitutionally regulated.

ROA.25-50096.864. Although it used the words “substantial majority,” the district

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court did not map the provisions’ potential applications or weigh the constitutional
against the unconstitutional, as Moody and Fitch require.
    At Moody step one, the district court should have determined under what
circumstances §509.052(2)(D) and §509.055 regulate non-protected speech,
protected commercial speech, and protected non-commercial speech, and then

determined which applications would likely be constitutional and unconstitutional.
    Start with unprotected speech. An Instagram advertisement promoting fake IDs
facilitates forgery, a crime under Texas Penal Code §32.21, and thus lacks First
Amendment protection as content promoting an illegal transaction. Williams, 553
U.S. at 297. Likewise, an advertisement for a “sexting app” featuring explicit
content targeting minors falls outside constitutional safeguards. Ferber, 458 U.S. at
758. These applications trigger no scrutiny and would be constitutional.
    As for commercial speech, a paid advertisement on X targeting a minor with a
vaping product, illegal under Texas Health and Safety Code §161.082, might

nonetheless be commercial speech triggering and passing intermediate scrutiny,
since it advances a substantial state interest—protecting minors from exploitative
marketing. Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 555 (2001). It also includes a

parental-override mechanism (§509.052), ensuring a reasonable fit between the
restriction and the State’s goal. Similarly, a paid advertisement directing minors to
an illegal gambling site likely constitutes commercial speech, but it is tied to unlawful

activity for minors and thus may be permissible under cases like Greater New Orleans
Broadcasting Association v. United States, 527 U.S. 173, 185 (1999).



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    Other applications of these provisions might trigger and pass strict scrutiny. An
advertisement for an underground fight club targeting teens could be deemed
content-based under Reed. Yet even there, the restriction might survive strict
scrutiny, given Texas’s compelling interest in protecting the physical safety of
minors. The district court’s failure to categorize and analyze these varied

applications flouts Moody’s requirements.
    The district court further erred by assuming that the word “advertisement”
encompasses only non-commercial speech simply because it does not include the
word “paid.” ROA.25-50096.857. That interpretation overlooks critical context.
Section 509.052(2)(D) applies to “targeted advertising,” which Texas law defines
as “displaying to a consumer an advertisement that is selected based on personal
data obtained from that consumer’s activities over time and across nonaffiliated
websites or online applications to predict the consumer’s preferences or interests.”
Tex. Bus. & Com. Code §541.001(31). This definition codifies the obvious: targeted

advertising harnesses DSP’s data-driven technologies, which are not available to
advertisers for free.
    Section 509.055’s reference to “advertisers” likewise denotes commercial

entities, not individual users sharing opinions. And that provision’s placement
alongside other financial restrictions, like §509.052(2)(A)’s prohibition on minors’
online purchases, reinforces its commercial focus. By ignoring all this, the district

court mischaracterized the provisions’ scope.
    The district court was also overly concerned about so-called “beneficial”
advertisements, like Ampersand’s public-health campaigns, suggesting they could

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be covered by the advertising provisions. ROA.25-50096.862-63. That misreads
§509.055 altogether, which applies only to advertisements promoting “unlawful”
products, services, or activities. Public-health campaigns, which do not facilitate
crimes, are obviously not covered. Indeed, the district court’s failure to distinguish
§509.055’s narrow scope from §509.052(2)(D)’s broader application at all reveals

its error and warrants reversal.

      D.     The age-verification provision is permissible under binding
             precedent.
    HB18’s age-verification provision, §509.057, helps Texas shield minors from
exposure to obscene online content—material that poses immediate and profound
risks to their safety and well-being. It does so by requiring DSPs to verify the ages of
their users when more than one-third of their content is “obscene,” as defined by
Texas Penal Code §43.21, or “harmful material,” as defined by Texas Penal Code

§43.24 (obscene for minors), §509.001(3). The age-verification provision protects
vulnerable youth in ways long upheld by courts as both compelling and
constitutional. Yet the district court declared §509.057 facially invalid, claiming it
restricts a substantial amount of protected speech and thus violates the First
Amendment. ROA.25-50096.865. That conclusion fundamentally misapplies Moody
and totally disregards not only that obscenity is not protected by the First

Amendment but also that the age-verification provision is permissible under binding
Fifth Circuit precedent.
    Section 509.057(a) applies to platforms on which more than one-third of content

is obscene for adults or minors under Texas law. The former is not protected by the


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First Amendment at all. Roth v. United States, 354 U.S. 476, 485 (1957). The latter
may permissibly be age-restricted under this Court’s recent decision in Free Speech
Coal., 95 F.4th at 263. Free Speech Coalition upheld a parallel age-verification
requirement under Texas HB1181 for material “harmful to minors.” Id. at 267.
HB1181 defined such material to include content obscene for minors—i.e., material

appealing to prurient interests, patently offensive as to minors, and lacking serious
value for minors, adapting the Miller test to a youth-focused standard. Id. at 267. This
Court applied rational-basis review, finding age verification a permissible means to
protect minors from harmful content without unduly burdening adult speech. Id. at
268-69.
    Under Free Speech Coalition, age verification for content obscene for minors is
permissible. And if age verification for content obscene for minors is permissible,
then so is age verification for material that is obscene for everyone, as the latter
enjoys no First Amendment protection whatsoever. Roth, 354 U.S. at 485; Mishkin

v. New York, 383 U.S. 502, 508 (1966).
    The district court’s failure to reconcile its strict-scrutiny approach with Free
Speech Coalition’s rational-basis holding is reversible error, as it ignores binding

precedent permitting rational age checks to shield minors from unprotected or
harmful content. 3


    3
       After this Court’s decision upholding HB1181, the Free Speech Coalition
plaintiffs sought emergency relief in the Supreme Court, which was denied on April
30, 2024. Free Speech Coal. v. Paxton, 144 S. Ct. 1473 (2024). The Supreme Court
then granted review, id. at 2714, and heard oral argument on January 15, 2025. The
Court has not yet issued its opinion, and thus Free Speech Coalition remains binding

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       The district court claimed that the provision restricts “substantial” protected
speech without specifying what that speech might be. ROA.25-50096.865. A DSP
hosting 40% deviant sexual material falls squarely within the obscenity category,
unprotected since Mishkin, 383 U.S. at 508-09. A DSP with one-third content
depicting pornography legal for adults but not children would be regulable under Free

Speech Coalition.
       At Moody step two, the court again failed to weigh constitutional against
unconstitutional applications. And given the provision’s narrow definitions tied to
material that is obscene under the Texas Penal Code, it is difficult to imagine any
invalid applications at all.

III.     HB18’s Terms Are Not Unconstitutionally Vague.
       HB18’s    monitoring-and-filtering      (§509.053)     and    targeted-advertising
(§509.055) provisions provide DSPs with clear, actionable guidance to protect
minors from harmful content and predatory marketing. The district court
erroneously deemed terms like “promote,” “glorify,” and “facilitate”
unconstitutionally vague, asserting they lack “objective criteria” and invite

“arbitrary application.” ROA.24-50721.421-22; ROA.25-50096.859, 864. This
holding misapplies the vagueness doctrine, ignores the terms’ established meanings
under Texas law and industry practice, and overlooks judicial narrowing as a remedy.
The Court should reverse.



precedent. Inclusive Communities Project, Inc. v. Tex. Dep’t of Hous. & Cmty. Affs., 747
F.3d 275, 280 n.4 (5th Cir. 2014).

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    The vagueness doctrine ensures fair notice of prohibited conduct and “minimal
guidelines” to prevent arbitrary enforcement. Kolender v. Lawson, 461 U.S. 352, 357–
58 (1983). Civil statutes, particularly those protecting minors, require only
reasonable certainty, not scientific precision. Ginsberg, 390 U.S. at 643. HB18’s
terms meet this standard, as they are anchored in legal precedent, statutory

definitions, and the DSPs’ own moderation practices.
    Monitoring and Filtering. Section 509.053(a) requires DSPs to filter content that
“promotes, glorifies, or facilitates” harms like suicide, trafficking, or harassment.
These terms are far from novel or vague—indeed, the DSPs themselves already use
many of them. For example, X moderates the “glorification of violent actions,”
defining violent speech as that which “threatens, incites, glorifies, or expresses
desire for violence or harm.”4 YouTube bans content “promoting” self-harm, and
defines promotion as “any form of encouragement or praise of the act, or providing
instructions on how to complete the act.” 5 Meta moderates content that

“celebrate[s] or promote[s] suicide, self-injury or eating disorders.”6 It also




    4
         X Corp., “Violent Content,” “Safety and Moderation Policies,”
https://help.x.com/en/rules-and-policies/violent-content (last visited Apr. 19,
2025).
    5
          YouTube,      “Harmful     or    dangerous      content      policy,”
https://support.google.com/youtube/answer/2801964 (last visited Apr. 19, 2025).
    6
               Meta,     “Suicide, Self-Injury, and    Eating     Disorders,”
http://transparency.meta.com/policies/community-standards/suicide-self-injury/
(last visited Apr. 19, 2025).

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prohibits content “facilitating” or “promoting” “criminal or harmful activities.”7
These examples, taken from platforms’ existing content-moderation policies,

demonstrate that DSPs can and do understand and apply these terms all the time,
negating any claimed vagueness concerns.
    Texas law further clarifies many of HB18’s key terms. “Harassment” tracks
Texas Penal Code §42.07, which was upheld as sufficiently clear in Scott, 322 S.W.3d
at 669-70. “Trafficking” aligns with Texas Penal Code §20A.02, a provision held
not unconstitutionally vague in cases like Kuhl v. State, 497 S.W.3d 128, 130 (Tex.

App. —Texarkana 2016, no pet.). “Facilitates” mirrors 18 U.S.C. §2’s aiding-and-
abetting standard, which was upheld in Hansen, 599 U.S. at 770-71.
    The district court’s drug-deregulation hypothetical—suggesting §509.053
might cover advocacy for drug legalization—divorces the term “promotes” from
HB18’s child-protection context. ROA.25-50096.859. A post teaching minors to
smuggle drugs “promotes” trafficking under §20A.02, but a policy debate on drug
legalization does not. Language is not math and cannot provide “mathematical
certainty.” Grayned, 408 U.S. at 110. Courts must therefore construe terms in
context, resolving ambiguity wherever possible. Id. at 112. Here, “promotes” can be
limited to direct inducement of harm, excluding protected speech. The district
court’s failure to consider this remedy was error.




    7
     Meta,      “Coordinating       Harm     and      Promoting         Crime,”
https://transparency.fb.com/policies/community-standards/ (last visited Apr. 14,
2025).

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    Targeted Advertising. Section 509.055(a) prohibits ads that “promote” or
“facilitate” products, services, or activities unlawful for minors. “Unlawful” plainly
refers to that which is prohibited for minors under Texas law. “Promote” and
“facilitate” are similarly clear, upheld in several cases, including criminal contexts
stricter than HB18’s civil framework. See Hansen, 599 U.S. at 770; Williams, 553 U.S.

at 294–95; Osborne v. Ohio, 495 U.S. 103, 112–14 (1990). And DSPs already regulate
this kind of thing all the time. Meta’s Advertising Standards ban advertisements for
“illegal content, products or services” and have detailed guidelines that Meta
enforces routinely.8 Google prohibits 39 categories of content from its
advertisements, all of which must comply with local laws. 9
    The district court’s concern about “arbitrary . . . enforcement” ignores
§509.055’s narrow focus on commercial advertisements for illegal acts. ROA.25-
50096.866. An ad for a fake ID “promotes” forgery; Ampersand’s anti-trafficking
campaign does not. Judicial narrowing—e.g., construing “promote” as “advertise

for profit” in a narrow and constitutional way—would also avoid any vagueness
problems. Hansen, 599 U.S. at 770. The court’s reliance on speculative
hypotheticals, untethered to HB18’s text or industry practice, requires reversal.




    8
          Meta,     “Introduction     to     the     Advertising       Standards,”
https://transparency.fb.com/policies/ad-standards/ (last visited Apr. 15, 2025).
    9
     Google,               “Google               Ads               policies,
https://support.google.com/adspolicy/answer/6008942 (last visited Apr. 19,
2025).

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IV.     Section 230 Does Not Preempt HB18’s Monitoring-and-Filtering
        Provision.
      The district court erred by holding that 47 U.S.C. §230 preempts HB18’s
monitoring-and-filtering provision. ROA.24-50721.427-28.

      Conflict preemption occurs only when compliance with state and federal law is
impossible or state law obstructs Congress’s objectives. Cipollone v. Liggett Grp., Inc.,
505 U.S. 504, 516 (1992). Courts begin with a strong presumption against

preemption—especially in areas of traditional state authority like child protection—
absent clear congressional intent to the contrary. Medtronic, Inc. v. Lohr, 518 U.S.
470, 485 (1996). And courts “may not conduct a freewheeling judicial inquiry into

whether a state statute is in tension with federal objectives.” Barrosse v. Huntington
Ingalls, Inc., 70 F.4th 315, 320 (5th Cir. 2023), cert. denied, 144 S. Ct. 557 (2024)
(citation omitted). Doing so “would undercut the principle that it is Congress rather
than the courts that pre-empts state law.” Id. (citation omitted). Thus, courts must
review the text and structure of the relevant federal law for evidence of preemptive
purpose. Zyla Life Scis. v. Wells Pharma of Hous., LLC, No. 23-20533, 2025 WL

1076889 (5th Cir. Apr. 10, 2025).
      Section 230 “was not meant to create a lawless no-man’s-land on the Internet.”
Fair Hous. Council of San Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157,

1164 (9th Cir. 2008) (en banc). Nor does §230 “insulate a company from liability for
all conduct that happens to be transmitted through the internet.” Henderson v. Source
for Pub. Data, L.P., 53 F.4th 110, 129 (4th Cir. 2022). This Court has repeatedly
emphasized that it will extend “section-230 immunity no further than the text



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requires.” A.B. v. Salesforce, Inc., 123 F.4th 788, 793 (5th Cir. 2024). And the text
itself is quite narrow. Section 230(c)(1) states that providers shall not be treated as
“the publisher or speaker” of user-generated content, and §230(c)(2) immunizes
good-faith efforts to restrict “obscene” or “otherwise objectionable” material.
47 U.S.C. §230(c). In addition, §230(e)(3) expressly states that it should not be

construed to preempt “any State from enforcing any State law that is consistent with
this section.” Id. §230(e)(3).
      Nothing in §230 is inconsistent with HB18’s goal of protecting children.
Section 509.056 requires DSPs to use “commercially reasonable” means to monitor
and filter harmful content, much of which is illegal and receives no First Amendment
protection at all. And liability under HB18 arises only from failing to implement those
protections—not from third-party speech itself. Thus, HB18 is not preempted
because it does not impose liability for “the harm done by third-party content.” Free
Speech Coal., 95 F.4th at 285. In Free Speech Coalition, this Court upheld HB1181’s

age-verification mandate against a preemption challenge because its obligations are
“plainly different” from publisher liability. Id. So too here: like HB1181, HB18
“imposes liability purely based on whether plaintiffs comply with the statute,

independently of whether the third-party speech that plaintiffs host harms
anybody.” Id. Also like HB1181, HB18 focuses on DSPs’ compliance with
technological requirements—implementing content filtering using hash-sharing, for

example—and does not treat DSPs as publishers.
    Section 230’s history further reinforces the conclusion that it does not preempt
HB18. Congress enacted §230 to overturn Stratton Oakmont, Inc. v. Prodigy Services

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Co., 1995 WL 323710 (N.Y. Sup. Ct. May 24, 1995), which held a provider liable as
a publisher of one of its user’s defamatory posts. Section 230(c)(1) abrogates that
kind of liability—for third-party speech—while §230(c)(2) encourages companies to
voluntarily filter offensive material, like material that is “obscene” or “harassing.”
A.B., 123 F.4th at 792-93. Because HB18 does not treat any DSP as “the publisher

or speaker of third-party content,” it is not preempted by §230. Id.
    In addition, HB18 is consistent with §230’s stated policies of “empower[ing]
parents” to control what their children see online, 47 U.S.C. §230(b)(4), because it
requires DSPs to give parents more control over the content their minor children
see. Plaintiffs’ attempt to use §230(c)(1) as a “shield for purposefully putting
‘offensive material’ onto the Internet” inverts its purpose, Free Speech Coal.,
95 F.4th at 285, and would render §230 “ill-suited to the realities of the modern
internet,” Doe ex rel. Roe v. Snap, Inc., 88 F.4th 1069, 1072 (5th Cir. 2023) (mem.
op.) (Elrod, J., dissenting from denial of rehearing en banc).

    If the CCIA plaintiffs were correct that §230 preempts HB18, that would mean
it preempts all State efforts to protect children from online content that is illegal or
otherwise unprotected by the First Amendment. That theory stretches §230 far

beyond its “narrow focus.” Doe ex rel. Roe v. Snap, Inc., 144 S. Ct. 2493 (2024)
(Thomas, J., dissenting from denial of certiorari).
    What’s more, plaintiffs cannot invoke §230 preemption while simultaneously

claiming HB18 violates their own First Amendment rights. Section 230 preemption
prevents social-media companies from being held liable for the speech of third
parties. NetChoice I, 49 F.4th at 468-69. The CCIA plaintiffs thus cannot claim that

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HB18 is infringing their speech rights while simultaneously claiming that it is
preempted by §230 because it is imposing liability for the speech of other people.
The CCIA plaintiffs must pick between these mutually exclusive theories.

V. If Any Provision of HB18 Is Facially Unconstitutional, the Court
   Should Sever That Provision and Leave the Rest of the Statute Intact.
    The district court’s facial injunctions invalidated HB18’s monitoring-and-
filtering requirements (§§509.053, 509.056(1)), targeted-advertising restrictions

(§§509.052(2)(D), 509.055), and age-verification rules (§509.057) wholesale,
ignoring its duty to preserve valid statutory provisions. If any part of HB18 is facially
unconstitutional, this Court should sever it and uphold the remainder, thus
upholding Texas’s compelling interest in child safety within constitutional limits.
    HB18’s severability clause says that if any provision or application of the statute
is invalid, “the invalidity does not affect other provisions or applications” that can

operate independently and lawfully. §5.01. This reaffirms Texas’s presumption of
severability, Tex. Gov. Code §311.032(c), which applies severability even to statutes
without severability clauses and which the Texas Supreme Court enforces unless a
statute’s structure precludes it, Rose v. Doctors Hosp., 801 S.W.2d 841, 844 (Tex.
1990). The U.S. Supreme Court similarly favors severance to avoid the over-
invalidation of statutes that contain at least some standalone validity. Barr, 591 U.S.

at 635-36 (plurality op.); United States v. Nat’l Treasury Emps. Union, 513 U.S. 454,
478-79 (1995).
    Here, HB18’s design supports severability because its provision addresses

different things and thus can operate independently. Section 509.053 requires


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filtering things like child pornography and can remain in place regardless of whether
other provisions are impermissible speech restrictions. Section 509.055’s ban on
advertisements for content that is illegal for minors is separate from, and does not
affect, §509.052(2)(D)’s broader advertising restriction. Section 509.057’s
requirements that obscene platforms use age verification, rooted in Texas Penal

Code §§43.21 and 43.24, are valid under Free Speech Coalition and operate
independently of any other statutory provision.
      This Court should reject the district court’s categorical invalidation and sever
any facially invalid provisions of HB18, consistent with Texas and federal law. Doing
so will preserve Texas’s child-protection goals.

VI.     The Remaining Injunction Factors Favor Texas.
      The remaining injunction factors favor Texas. Texas has a compelling interest
in protecting children, and enforcing HB18 will not impose undue burdens on the
plaintiffs, whose alleged harms are speculative.
      A preliminary injunction requires plaintiffs to show that the balance of equities
tips in their favor and an injunction serves the public interest. Winter, 555 U.S. at 20.

Balancing the equities involves weighing the harm to plaintiffs if relief is denied
against the harm to defendants if it is granted. Texas v. United States, 809 F.3d 134,
187 (5th Cir. 2015), aff’d by an equally divided court, 579 U.S. 547 (2016). The public-
interest factor prioritizes outcomes advancing societal benefits, like child safety.
NetChoice II, 49 F.4th at 449-51.
      Here, Texas’s interest in protecting its children from online harms outweighs

plaintiffs’ vague concerns and speculative fears. Enjoining HB18 significantly harms

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Texas by delaying its ability to protect children from online content that glorifies,
facilitates, and promotes things like suicide, trafficking, child pornography, and
sexual abuse. Enjoining HB18 unnecessarily risks exposing minors to such material,
contrary to federal and state priorities.
    The public-interest factor also favors Texas because HB18 advances child safety,

a fundamental public goal. Plaintiffs can offer no countervailing public harm.
    The district court ignored Texas’s compelling interest in protecting minors and
HB18’s tailored approach, improperly weighing the equities and public good.




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                                 Conclusion
      This Court should reverse the district court’s orders granting facial
preliminary injunctions. At minimum, it should vacate in remand for a proper
analysis under Moody and Fitch or sever any provisions it deems facially
unconstitutional.

                                    Respectfully submitted.

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